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 1   ROB BONTA
     Attorney General of California
 2   RUSSELL B. HILDRETH
     Supervising Deputy Attorney General
 3   MARC N. MELNICK (SBN 168187)
     BRYANT B. CANNON (SBN 284496)
 4   Deputy Attorneys General
      1515 Clay Street, 20th Floor
 5    P.O. Box 70550
      Oakland, CA 94612-0550
 6    Telephone: (510) 879-1982
      Fax: (510) 622-2270
 7    E-mail: Bryant.Cannon@doj.ca.gov
     Attorneys for Amici Curiae California
 8   State Water Resources Control Board and
     California Regional Water Quality Control
 9   Board, San Francisco Bay Region
10                                UNITED STATES DISTRICT COURT
11                            NORTHERN DISTRICT OF CALIFORNIA
12                                           SAN JOSE DIVISION
13
14
     SAN FRANCISCO BAYKEEPER,                                   5:20-cv-00824-EJD
15
                                               Plaintiff,
16
                     v.              CALIFORNIA STATE WATER
17                                   RESOURCES CONTROL BOARD
                                     AND CALIFORNIA REGIONAL
18   CITY OF SUNNYVALE, ET AL.       WATER QUALITY CONTROL
                                     BOARD, SAN FRANCISCO BAY
19                       Defendants. REGION MOTION FOR LEAVE
                                     TO FILE AMICUS BRIEF IN
20                                   SUPPORT OF PLAINTIFF’S
                                     OPPOSITION TO MOTION FOR
21                                   RECONSIDERATION
22                                                              Date:       May 22, 2025
                                                                Time:       2:00 p.m.
23                                                              Dept:       4
                                                                Judge:      Hon. Edward J. Davila
24                                                              Trial Date: June 10, 2025
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     Water Boards’ Mtn. for Leave to File Amicus Br. ISO Pltf.’s Opp. to Mtn. for Reconsideration (5:20-cv-00824-EJD)
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 1         The State Water Resources Control Board (State Water Board) and the
 2   Regional Water Quality Control Board, San Francisco Bay Region (SF Bay Water
 3   Board) (together Water Boards) respectfully move for leave to file an amicus curiae
 4   brief in support of the Plaintiff’s opposition to Defendants’ Motion for
 5   Reconsideration. ECF No. 278. A copy of the proposed brief is attached as Exhibit
 6   A hereto. Plaintiff does not object to this motion. Defendants object to this motion.
 7                                         INTEREST OF THE AMICI
 8         The State Water Board and nine regional water quality control boards
 9   implement the Clean Water Act throughout California, including by issuing
10   National Pollution Discharge Elimination System (NPDES) permits. The SF Bay
11   Water Board 1 issued the NPDES permit at issue in this matter. Municipal Regional
12   Stormwater NPDES Permit, NPDES Permit No. CAS612008, Order No. R2-2015-
13   0049, reissued in 2022 as NPDES Permit No. CAS612008, Order No. R2-2022-
14   0018 (Permit).
15         In conjunction with the U.S. Environmental Protection Agency, the SF Bay
16   Water Board also issued the NPDES permit challenged in the U.S. Supreme Court’s
17   recent Clean Water Act decision in City and County of San Francisco, California v.
18   Environmental Protection Agency, 145 S. Ct. 704 (2025) (CCSF v. U.S. EPA). The
19   State of California filed an amicus in support of the U.S. EPA in that matter. In
20   light of its longstanding and continuing interest in the application of the U.S.
21   Supreme Court’s recent Clean Water Act decision in CCSF v. U.S. EPA and its
22   application to this Permit, the Water Boards seek leave to file an amicus curiae
23   brief in support of the Plaintiff’s opposition.
24
25
             The SF Bay Water Board is the government agency primarily responsible
             1
26   for water quality in the San Francisco Bay region. Cal. Water Code §§ 13200,
     13201, 13225. It has, for decades, issued similar permits for discharges related to
27   the systems discharging stormwater under the federal Clean Water Act, 33 U.S.C. §
     1251 et seq.
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 1        The NPDES permit program is the “linchpin” of the Clean Water Act’s
 2   regulatory scheme. Ecological Rights Found. v. Pacific Lumber Co., 230 F.3d
 3   1141, 1145 (9th Cir. 2000). The principal means of enforcing the Clean Water
 4   Act’s pollution control and abatement provisions is through enforcing permit
 5   compliance. Env’t Prot. Agency v. California ex rel. State Water Res. Control Bd.,
 6   426 U.S. 200, 223 (1976).
 7        Subject to U.S. EPA approval, states may administer their own NPDES permit
 8   programs. 33 U.S.C. § 1342(b). California is one such state. Natural Res. Defense
 9   Council, Inc. v. County of Los Angeles, 725 F.3d 1194, 1198 (9th Cir. 2013); see
10   Cal. Water Code §§ 13370-13389. The SF Bay Water Board generally enforces the
11   permits it issues. As a supplement to enforcement by regulating agencies, the Clean
12   Water Act authorizes citizens to bring their own lawsuits. 33 U.S.C. § 1365. And
13   SF Baykeeper brought this lawsuit on that basis.
14         As the state entities authorized to administer the NPDES program in
15   California, the Water Boards’ amicus brief provides a vital perspective otherwise
16   absent from the motion for reconsideration. Allowing the Cities, as permittees, to
17   pursue an improper collateral attack on the state Permit in a federal citizen suit
18   action and improperly extend the scope of the Supreme Court’s decision would
19   threaten the NPDES permitting system in California. The Cities’ effort to utilize a
20   motion for reconsideration to invalidate permit terms that have already become
21   final would force the permitting authority to participate in litigation to defend the
22   permit terms. However, the Water Boards rely on citizen suits to fill in enforcement
23   gaps and the Water Boards are not generally parties to those suits. Requiring state
24   participation as a party would undermine the very purpose of such citizen suits, be
25   contrary to the structure of the Act, and would impose a serious burden on the
26   Water Boards, which lack the resources to be a party to every possible enforcement
27   action.
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 1         Enforcement of water quality control laws is critical to the success of the
 2   State’s water quality programs and necessary to ensure that Californians have clean
 3   water. Allowing collateral attacks on NPDES permits in situations like the one
 4   presented here would weaken the NPDES storm water permit system in California,
 5   curtail enforcement cases, and impede the Water Boards’ ability to protect the
 6   quality of the State’s waters.
 7                                       POINTS AND AUTHORITIES
 8         “There are no strict prerequisites that must be established prior to qualifying
 9   for amicus status; an individual seeking to appear as amicus must merely make a
10   showing that his participation is useful to or otherwise desirable to the court.” In re
11   Roxford Foods Litig., 790 F. Supp. 987, 997 (E.D. Cal. 1991) (quoting United
12   States v. Louisiana, 751 F. Supp. 608, 620 (E.D. La. 1990)). “District courts
13   frequently welcome amicus briefs from non-parties concerning legal issues that
14   have potential ramifications beyond the parties directly involved or if the amicus
15   has ‘unique information or perspective that can help the court beyond the help that
16   the lawyers for the parties are able to provide.’” NGV Gaming, Ltd. v. Upstream
17   Point Molate, LLC, 355 F. Supp. 2d 1061, 1067 (N.D. Cal. 2005) (citations
18   omitted).
19         Furthermore, the Ninth Circuit has previously confirmed the importance of
20   amicus briefs filed by California Water Boards in district court cases involving
21   NPDES permits. Natural Res. Defense Council, Inc. v. County of Los Angeles, 725
22   F.3d at 1207-08. In fact, the views of the permitting authority are especially
23   “important because one of [the Court’s] obligations in interpreting an NPDES
24   permit is ‘to determine the intent of the permitting authority....’” Id. at 1207
25   (citation omitted). The Court must give “significant weight to…the permitting
26   authority’s interpretation of the relevant permit” in order “to determine the proper
27   scope of an NPDES permit.” Id. (citation omitted).
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 1         Here, the Cities raise legal issues that have potential ramifications beyond
 2   their two jurisdictions, as evidenced by the application of the Permit to dozens of
 3   other Bay Area municipalities, as well as statewide effect due to their effort to raise
 4   these issues through improper collateral attack. Amici Water Boards, by virtue of
 5   their status of permitting agency for NPDES permits generally and, for the SF Bay
 6   Water Board, the issuer of this Permit, bring experience and perspective that can
 7   assist the court.
 8                                                 CONCLUSION
 9         For the reasons summarized herein and set forth with particularity in the
10   attached amicus brief, the Water Boards respectfully request that the Court grant
11   this motion and file the amicus brief attached as Exhibit A.
12
13   Dated: April 28, 2025                                      Respectfully submitted,
14                                                              ROB BONTA
15                                                              Attorney General of California
                                                                RUSSELL B. HILDRETH
16                                                              Supervising Deputy Attorney General

17                                                              /s/ Bryant B. Cannon
18
19                                                              BRYANT B. CANNON
                                                                Deputy Attorney General
20                                                              Attorneys for Amici Curiae
                                                                California State Water Resources
21                                                              Control Board and California
                                                                Regional Water Quality Control
22                                                              Board, San Francisco Bay Region
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